                UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF TEXAS
                     HOUSTON DIVISION

UNITED STATES OF AMERICA,                §
    Plaintiff/Respondent,                §
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                                         §    Crim. No. H-17-290-01
       v.                                §    Civil No. H-23-0109
                                         §
                                         §
HARCHARAN SINGH NARANG,                  §
    Defendant/Petitioner.                §

          UNITED STATES’ OPPOSITION TO AND
      REQUEST FOR DENIAL OF 28 U.S.C. § 2255 MOTION

     The United States (“Government”) requests that this Court deny

Harcharan Singh Narang’s (“Narang”) 28 U.S.C. § 2255 motion because

the record conclusively shows that he is not entitled to relief. Narang’s

claims are foreclosed by the Fifth Circuit’s decision in his direct appeal,

are contrary to the record, or are otherwise legally or factually meritless.

I.   PROCEDURAL HISTORY.

     Narang, Gurnaib Singh Sidhu (“Sidhu”), and Dayakar Moparty

(“Moparty”) were indicted on one count of conspiracy to commit health

care fraud, in violation of 18 U.S.C. § 1349, and seventeen counts of

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health care fraud, in violation of 18 U.S.C. § 1347 and § 2. See United

States v. Moparty, 11 F.4th 280, 284 (5th Cir. 2021). Narang and Moparty

also were indicted on three counts of engaging in monetary transactions

in property derived from specified unlawful activity, in violation of 18

U.S.C. § 1957 and § 2. Id.

     The health care fraud scheme had three key parts: (1) a patient

intake and testing component; (2) a billing component; and (3) a financial

distribution component. See id. at 285. Medical doctors Narang and

Sidhu would order unnecessary medical tests for people seen at Narang’s

office, but Moparty would bill for them through a hospital he co-owned at

a higher rate, regardless of whether the tests had been performed. See

id. at 285-86. If the patients’ insurers denied the claims, Moparty would

resubmit them using the name of a different entity. See id. at 285-88.

     The indictment alleged that the scheme resulted in fraudulent

billings of over $20 million to three insurance companies. Id. at 285.

Moparty received at least $3.2 million in reimbursements, which he split

with Narang through a series of financial transactions. Id.

     Sidhu pleaded guilty before trial to the conspiracy count. Id. at 288.

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         Following an eight-day trial, a jury convicted Narang and Moparty

on all 21 counts. Id. at 285, 290. This Court denied Narang’s and

Moparty’s motions for a mistrial. See id. at 288, 290-91. Narang was

sentenced to 121 months’ imprisonment and ordered jointly and severally

liable for $2,621,999.04 in restitution. Id. at 291.

         On appeal, Narang and Moparty raised “a litany of issues.” Id. The

Fifth Circuit affirmed this Court’s judgment. See id. at 284, 301.

         Narang timely filed this motion to vacate, set aside, or correct his

sentence under 28 U.S.C. § 2255. (D.E. 427).1 See United States v.

Wheaten, 826 F.3d 843, 846 (5th Cir. 2016); 28 U.S.C. § 2255(f)(1).

Narang wants this Court to vacate his conviction and sentence. (D.E.

428, p. 34).

II.      NARANG’S MOTION TO VACATE, SET ASIDE, OR CORRECT HIS
         SENTENCE.

         Narang’s § 2255 motion and supporting memorandum raise three

issues: (1) he was denied a fundamentally fair trial and his constitutional

rights under the confrontation clause and due process were violated



1   “D.E.” means the docket entry in the criminal proceeding.
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based on the Government’s two references to Sidhu’s guilty plea; (2) he

received ineffective assistance of counsel because his attorney failed to

subpoena Sidhu, to call patients and expert witnesses, and to cross-

examine FBI Special Agent Lammons sufficiently and effectively; and (3)

prosecutorial misconduct occurred pertaining to Sidhu’s guilty plea and

an improper comment connecting Narang with “Russians.” (See D.E.

427, pp. 5-6, 8, D.E. 428, pp. 4, 23, 31, 33).

III. THE LEGAL FRAMEWORK FOR § 2255 MOTIONS IS LIMITED.

      “A defendant who has been convicted and has exhausted or waived

his right to appeal is presumed to have been fairly and finally convicted.”

United States v. Placente, 81 F.3d 555, 558 (5th Cir. 1996). “[A] collateral

challenge may not do service for an appeal.” United States v. Frady, 456

U.S. 152, 165 (1982).

      Motions under 28 U.S.C. § 2255 are permitted only for certain types

of error. See 28 U.S.C. § 2255(a). They are “reserved for transgressions

of constitutional rights and for a narrow range of injuries that could not

have been raised on direct appeal and would, if condoned, result in a

complete miscarriage of justice.” United States v. Vaughn, 955 F.2d 367,

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368 (5th Cir. 1992); see United States v. Shaid, 937 F.2d 228, 232 (5th

Cir. 1991) (“defendant can challenge his conviction after it is presumed

final only on issues of constitutional or jurisdictional magnitude”).

      A defendant may move to vacate, set aside, or correct his sentence

if: (1) the sentence was imposed in violation of the Constitution or the

laws of the United States, (2) the district court did not have jurisdiction

to impose the sentence, (3) the sentence imposed was in excess of the

maximum authorized by law, or (4) the sentence is otherwise subject to

collateral attack. Placente, 81 F.3d at 558; see 28 U.S.C. § 2255(a).

IV.   THE LAW OF THE CASE DOCTRINE BARS NARANG’S CLAIMS
      RELATED TO SIDHU’S GUILTY PLEA, AND/OR THEY ARE
      PROCEDURALLY DEFAULTED.

      Narang complains about the two times the Government briefly

referenced Sidhu’s guilty plea. (See D.E. 427, p. 5, D.E. 428, p. 4). The

first reference occurred during the Government’s opening statement

when the prosecutor “said that Sidhu ‘is a co-conspirator in this case’ but

he ‘is not in this trial because he already pled guilty.’” Moparty, 11 F.4th

at 290-91.   The second reference occurred during Agent Lammons’

testimony when the prosecutor “inquired, ‘we haven’t talked a lot about

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Dr. Sidhu yet. ... Why is that?’ Lammons answered: ‘He’s already pled

guilty.’” Id. at 290-91 (ellipsis original).

      Narang argues the circumstances surrounding these two references

to Sidhu’s guilty plea deprived him of a fair trial in violation of the

confrontation clause and due process. (D.E. 428, p. 4). As to his due

process claim, he also contends that the Government’s “substantial

interference” precluded him from subpoenaing Sidhu. (D.E. 428, p. 5).

      This Court should deny Narang’s confrontation clause argument

because the Fifth Circuit rejected it on appeal. His due process claim is

procedurally defaulted because he failed to assert it on appeal.

      A.    ARGUMENTS NARANG RAISED BEFORE THE FIFTH CIRCUIT
            ARE FORECLOSED.

      A claim that was raised and disposed of in a direct appeal is

considered the law of the case and cannot be re-litigated in a § 2255

motion. United States v. Kalish, 780 F.2d 506, 508 (5th Cir. 1986); see

also Moore v. United States, 598 F.2d 439, 441 (5th Cir. 1979) (where

issues were raised and considered on direct appeal, a defendant is

precluded from urging the same issues in a later collateral attack). Such

is the case here. On appeal, Narang challenged both references to Sidhu’s
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guilty plea, and the Fifth Circuit rejected his claims. See Moparty, 11

F.4th at 291-93.

     The court disagreed that the references to Sidhu’s guilty plea

violated Narang’s rights under the confrontation clause and that the

presence of “aggravating circumstances” prevented this Court’s limiting

instructions at trial from curing the prejudice. Id. at 292-93 & n.18. The

Fifth Circuit stated that the Government could preemptively introduce

Sidhu’s plea to thwart a defense strategy of painting him as the primary

culprit or to negate expected impeachment efforts. Id. at 293. The Fifth

Circuit also agreed with this Court that the two references were not

improperly emphasized or offered as substantive evidence, but were

made to explain why Sidhu, a frequently discussed participant in the

scheme, was not present at trial. See id.

     Also, the jury, which was presumed to follow this Court’s

instructions, had been told that an opening statement is only a preview,

not evidence, and a limiting instruction immediately followed the second

reference to Sidhu’s guilty plea.   Id.     Narang did not object to the

reference during opening statement. See id. at 290. Moreover, the Fifth

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Circuit noted that this Court, “in light of its eight-day trial, found no bad

faith by the government.” Id. at 293.

     Given the strength of this Court’s curative instructions and its

assessment of the prejudicial effect of the statements in the context of

other evidence presented in determining whether the admission was

harmless beyond a reasonable doubt, the Fifth Circuit upheld the denial

of Narang’s motion for mistrial. See id. Narang recognizes as much, but,

nevertheless, improperly devotes 19 pages of his § 2255 memorandum

trying to avoid the Fifth Circuit’s rulings and insisting his current

arguments have been elevated to a constitutional level and must be read

in context. (See D.E. 428, pp. 4-23).

     In fact, Narang asserts that the Fifth Circuit’s analysis was

“limited to the scope of an evidentiary issue, rather than constitutional

claims,” which is incorrect. (See D.E. 428, p. 21). The Fifth Circuit

explicitly considered and rejected the claim that the testimony violated

the confrontation clause. See id. at 292-93 & n.18.

     This Court should conclude that the Fifth Circuit’s factual and legal

analysis, whether directly or by inference, rejected Narang’s claims, and

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they are foreclosed. See United States v. Fields, 761 F.3d 443, 463 n.12

(5th Cir. 2014) (“Challenges to issues decided on direct appeal are

foreclosed from consideration in a § 2255 motion.”); United States v. Lee,

358 F.3d 315, 320 (5th Cir. 2004) (under law of the case doctrine,

ordinarily “issue of fact or law decided on appeal may not be reexamined

either by the district court on remand or by the appellate court on

subsequent appeal;” proscription covers issues decided expressly and by

necessary implication); Alpha/Omega Ins. Servs., Inc. v. Prudential Ins.

Co. of Am., 272 F.3d 276, 279 (5th Cir. 2001) (law of the case doctrine

applies to issues decided by “necessary implication”); see also United

States v. Rodriguez, 821 F.3d 632, 634 (5th Cir. 2016) (“righting alleged

errors in the appellate court’s opinion on direct appeal ‘is not the province

of a § 2255 motion’”).

     B.    ANY OTHER ARGUMENTS NARANG COULD HAVE RAISED
           BEFORE THE FIFTH CIRCUIT ARE PROCEDURALLY
           DEFAULTED.

     Alternatively, to the extent Narang is asserting other claims

related to the references to Sidhu’s guilty plea, this Court should find

they are procedurally defaulted. See United States v. Cervantes, 132 F.3d

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1106, 1109 (5th Cir. 1998) (if the claim asserted in a motion could have

been raised on direct appeal, but was not, the issue is procedurally

defaulted). This rule applies to any claims about Sidhu’s alleged and

speculative fear of testifying, the terms of his plea agreement, and the

Government’s alleged and speculative misconduct. 2 (See D.E. 428, pp. 11-

12).

       Where a prisoner fails to raise on direct appeal a claim that could

have been raised and disposed of in the direct appeal, he may not present

that issue for the first time on collateral review in a § 2255 motion

without showing both “cause” and “actual prejudice” resulting from the

error. 3 Garcia v. United States, No. CR M-12-1410-1, 2017 WL 2562680,

at *6 (S.D. Tex. May 16, 2017), report & recommendation adopted, No.

CR 7-12-1410-1, 2017 WL 2559102 (S.D. Tex. June 13, 2017) (citing

Frady, 456 U.S. at 168); see Cervantes, 132 F.3d at 1109 (defendant who



2 For example, Narang states that, “While Dr. Sidhu’s plea agreement did not
explicitly document such intimidations, they are real.” (See D.E. 428, pp. 13-14).

3 Alternatively, procedurally defaulted claims can be considered for the first time in
a § 2255 proceeding if the defendant can show that he is “actually innocent.” Bousley
v. United States, 523 U.S. 614, 622 (1998).

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raises a constitutional or jurisdictional issue for the first time on

collateral review must show both cause for his procedural default and

actual prejudice due to any such errors); United States v. Carter, No. CR

H-17-676-2, 2022 WL 1043907, at *1 (S.D. Tex. Apr. 7, 2022) (defendant

cannot raise an issue for the first time on collateral review without

showing both cause for his procedural default and actual prejudice

resulting from the error).

     This “standard presents ‘a significantly higher hurdle’ than the

‘plain error’ standard that” the Fifth Circuit applies on direct appeal.

Shaid, 937 F.2d at 232. To prove “cause,” a defendant must show an

external obstacle prevented him from raising his claims either at trial or

on direct appeal. Olloque v. United States, No. CR H-18-438, 2021 WL

2301932, at *1 (S.D. Tex. June 4, 2021). To prove “actual prejudice,” the

defendant must show he has suffered an actual and substantial

disadvantage. Id. (citing Frady, 456 U.S. at 170).

     Here, Narang has failed to prove either prong, and the Fifth

Circuit’s opinion and record negate his claims. Narang cannot establish

cause for his failure to argue that his due process rights were violated.

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The caselaw he relies on in his § 2255 motion is not new. (See D.E. 48,

pp. 7-10). In fact, he does not cite to any cases decided after his appeal

was affirmed.      The legal basis for his claim was available when he

appealed, and Narang has offered no justification for his failure to raise

it. He, therefore, has not established cause and cannot overcome the

procedural default of his claim.

      Narang also has failed to show actual prejudice. Narang appears

to argue that the Government actively prevented him from calling Sidhu

as a witness. There is no evidence to this effect. Also, as the Fifth Circuit

noted, this Court, not the prosecution, stated “Narang could call Sidhu if

he wished.” 4    Moparty, 11 F.4th at 292-93 & n.18. This belies any

suggestion that Narang’s due process rights were violated because the

Government prevented Sidhu from testifying. Narang could have, but

chose not to call Sidhu.

      Further, Narang seems to suggest that his due process rights were

violated because Sidhu received a beneficial plea agreement. As this



4The Fifth Circuit also rejected the implication that this constituted impermissible
burden shifting. See Moparty, 11 F.4th at 292-93 & n.18.
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Court knows, all plea agreements provide benefits to those who plead

guilty, and Narang has not demonstrated that Sidhu’s plea agreement

prevented him from testifying if Narang subpoenaed him.           Narang,

therefore, has not demonstrated actual prejudice to overcome the

procedural default of his claim.

     Moreover, to the extent that Narang believes he has demonstrated

actual innocence to excuse his default, the Fifth Circuit recognized that

this Court had “found that ‘[t]he admissible evidence presented to the

jury overwhelmingly eclipses the two [brief] mentions of Sidhu's plea.’”

Moparty, 11 F.4th at 290 (brackets original); see also id. at 290 (same).

     Also, in rejecting Moparty’s claim of cumulative error, the Fifth

Circuit noted the “government offered hundreds of pages of documentary

evidence and testimony from patients, employees, medical experts,

industry representatives, and investigating agents” to support the

convictions.   See id. at 299.     Narang’s speculative and conclusory

assertions do not establish actual innocence. His due process claim is

procedurally defaulted and should be denied.



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V.   PROVING NARANG’S COUNSEL WAS CONSTITUTIONALLY
     INEFFECTIVE REQUIRES A SHOWING AKIN TO INCOMPETENCE,
     WHICH THE RECORD NEGATES.

     Narang claims that his counsel was constitutionally defective

because his attorney failed to subpoena Sidhu, to call patient witnesses

and expert witnesses, and to cross-examine Agent Lammons sufficiently

and effectively. (See D.E. 427, p. 6, D.E. 428, p. 23).

     The benchmark for judging any claim of ineffectiveness is whether

counsel’s conduct so undermined the proper functioning of the

adversarial process that the trial cannot be relied on as having produced

a just result. United States v. Torres, 163 F.3d 909, 913 (5th Cir. 1999).

     To prevail, Narang must show (1) that his attorney’s performance

was deficient because it        fell below an objective standard of

reasonableness and (2) that the alleged deficiency prejudiced his defense,

which is defined as a reasonable probability that counsel’s error changed

the result of the proceeding. See Strickland v. Washington, 466 U.S. 668,

687 (1984); United States v. Palacios, 928 F.3d 450, 454 (5th Cir. 2019).

If a defendant fails to prove one prong, it is unnecessary to analyze the



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other. United States v. Bejarano, 751 F.3d 280, 285 (5th Cir. 2014). Here,

Narang has not proved either prong.

     Judicial scrutiny of counsel’s performance is highly deferential.

Strickland, 466 U.S. at 687. Counsel’s performance is strongly presumed

to fall within the wide range of reasonable professional assistance. Premo

v. Moore, 562 U.S. 115, 121 (2011). “Unlike a later reviewing court, the

[trial] attorney observed the relevant proceedings, knew of materials

outside the record, and interacted with the client, with opposing counsel,

and with the judge. It is ‘all too tempting’ to ‘second-guess counsel’s

assistance after conviction or adverse sentence.’” Id. at 122.

     To overcome the presumption, a defendant must “show ‘that

counsel made errors so serious that counsel was not functioning as the

counsel guaranteed the defendant by the Sixth Amendment.’” Id. at 121-

22. “The question is whether an attorney’s representation amounted to

incompetence under ‘prevailing professional norms,’ not whether it

deviated from best practices or most common custom.”             Id. at 122

(emphasis added).



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     Every effort must be made to eliminate the distorting effects of

hindsight and instead evaluate the conduct from counsel’s perspective at

the time. Strickland, 466 U.S. at 687; see United States v. Townzen, No.

CR 2:18-1336-1, 2022 WL 16836339, at *4 (S.D. Tex. Nov. 8, 2022)

(ineffective assistance claim focuses on “counsel’s challenged conduct on

the facts of the particular case, viewed as of the time of counsel’s

conduct[,]” because “[i]t is all too tempting for a defendant to second-

guess counsel’s assistance after conviction or adverse sentence) (brackets

original); Gardiner v. Lumpkin, No. CV H-20-0702, 2021 WL 765685, at

*8 (S.D. Tex. Feb. 26, 2021) (counsel is strongly presumed to have

rendered adequate assistance and that the challenged conduct was the

product of reasoned trial strategy).       An attorney’s error, even if

professionally unreasonable, does not warrant setting aside the judgment

if the error had no effect on it. Strickland, 466 U.S. at 691.

     Here, Narang has failed to show that his attorneys “made errors so

serious that” they were “not functioning as the ‘counsel’ guaranteed . . .

by the Sixth Amendment.” See Torres, 163 F.3d at 913. Even when the

record fails to explain all of counsel’s decisions, “the defendant must

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overcome the presumption that, under the circumstances, the challenged

action might be considered sound trial strategy.” Bell v. Cone, 535 U.S.

685, 698 (2002) (quotation omitted); see Yarborough v. Gentry, 540 U.S.

1, 8, (2003) (“When counsel focuses on some issues to the exclusion of

others, there is a strong presumption that he did so for tactical reasons

rather than through sheer neglect”). For this reason, Narang’s vague

complaints about uncalled patient and expert witnesses fail under the

first Strickland prong.

     The Fifth Circuit has been clear that “‘complaints based upon

uncalled witnesses’ are ‘not favored because the presentation of witness

testimony is essentially strategy and thus within the trial counsel’s

domain, and that speculations as to what these witnesses would have

testified is too uncertain.’” United States v. Megwa, No. 20-10877, 2021

WL 3855498, at *3 (5th Cir. June 1, 2021); see Alexander v. McCotter, 775

F.2d 595, 602 (5th Cir. 1985) (“the presentation of witness testimony is

essentially strategy and thus within the trial counsel’s domain, and that

speculations as to what these witnesses would have testified is too

uncertain”). The hiring of expert witnesses and the presentation of their

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testimony also is considered a matter of trial strategy.         Colburn v.

Cockrell, 37 F. App’x 90, *11 (5th Cir. 2002); see also Yohey v. Collins, 985

F.2d 222, 228 (5th Cir.1993) (“Counsel’s decision not to hire experts falls

within the realm of trial strategy.”).       Moreover, “[w]here the only

evidence of a missing witnesses’ testimony is from the defendant,” the

court should view these “claims of ineffective assistance with great

caution.” See Sayre v. Anderson, 238 F.3d 631, 636 (5th Cir. 2001).

     Another reason Narang’s contention fails is that, to prevail on an

ineffective assistance claim based on counsel’s failure to call a lay or

expert witness, a defendant must “name the witness, demonstrate the

witness was available to testify and would have done so, set out the

content of the witness’s proposed testimony, and show that the testimony

would have been favorable to a particular defense.” Day v. Quarterman,

566 F.3d 527, 538 (5th Cir. 2009); United States v. Pervis, No. CR H-15-

060-02, 2021 WL 1110595, at *4 (S.D. Tex. Mar. 22, 2021). Narang failed

to comply with this rule. He did not name the witnesses. He did not

supply affidavits from the alleged witnesses demonstrating their

willingness to testify at trial, detailing their testimonies, and showing

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their testimonies would have been favorable to him. This Court should

overrule Narang’s argument.      See Megwa, 2021 WL 3855498, at *3

(where defendant did not provide declarations or other evidence from the

relevant experts, he could not establish prejudice under Fifth Circuit

precedent).

       Similarly, this Court can dispose of Narang’s complaint about the

alleged ineffective cross-examination of Agent Lammons because counsel

did not ask about another agent’s wife who was one of Narang’s medical

partners as well as how the investigation allegedly started here because

Narang had testified for Aetna, one of the insurance companies that was

defrauded here, in a civil suit against a medical center. (See D.E. 428, p.

30).   Decisions regarding cross-examination also are strategic and

usually will not support an ineffective assistance of counsel claim. United

States v. Valas, 40 F.4th 253, 262-63 (5th Cir. 2022); United States v.

Bernard, 762 F.3d 467, 472 (5th Cir. 2014) (same).

       This Court should conclude that Narang failed to meet his burden

under the first Strickland prong. While this Court is not required to

examine the second prong, Narang’s proof also falls short here.

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     To prove prejudice, a defendant “must demonstrate ‘a reasonable

probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.’” Premo, 562 U.S. at 122. Narang

cannot do so.

     As the Fifth Circuit confirmed, “the government introduced

extensive testimony to demonstrate how the scheme operated.”

Moparty, 11 F.4th at 285. The court also discussed Narang’s key role in

the fraud, including how he “persuaded” patients to undergo testing and

explained that their insurance companies would pay in full. See id. at

285-86.   Narang then ordered various tests.        Id.   The four expert

witnesses the Government presented discussed the testing deficiencies

and errors and more importantly, how the tests were not medically

necessary. See id. at 286.

     As the Fifth Circuit also confirmed, the evidence showed how

“Narang and Moparty executed a ‘pass-through billing scheme’ where

services are rendered at one location, but the bills are submitted from a

different place at a higher rate.” See id. at 286-88. Three fact witnesses

with the major insurance companies discussed the billings and

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payments, and Agent Lammons testified that the insurance and billing

records corroborated the pass-through billing testimony of the other

witnesses. See id. at 288. There also was testimony about “rebilling,”

and Agent Lammons explained how the defendants used a shell company

and other entities to move money. See id. A forensic accountant also

traced the transactions related to the money laundering counts in the

indictment. See id.

     Under no circumstances has Narang satisfied his burden under the

second Strickland prong. See Yohey, 985 F.2d at 228 (where evidence at

trial of defendant’s “guilt was overwhelming . . . [a]ny procurement of

independent experts could very well have been deemed futile”); Whatley

v. Thaler, No. CIV.A. G-10-218, 2012 WL 163825, at *7 (S.D. Tex. Jan.

19, 2012) (even assuming counsel’s cross-examination of key witnesses

was ineffective, defendant must show the outcome the trial would have

been different had counsel conducted an effective cross-examination). In

fact, Narang’s assertions of prejudice are largely conclusory. Instead of

explaining how the calling of witnesses or his suggested cross-

examination of Agent Lammons would negate or significantly undermine

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the Government’s evidence, here just baldly asserts that the outcome of

the trial would have been different.

      “Surmounting Strickland’s high bar is never an easy task.” Premo,

562 U.S. at 122. Here, Narang has failed to satisfy his burden under

either prong of the Strickland test.

VI.   NARNAG’S PROSECUTORIAL                MISCONDUCT   ARGUMENTS    ARE
      PROCEDURALLY DEFAULTED.

      Narang claims that prosecutorial misconduct occurred because the

Government substantially interfered with Narang’s ability to call Sidhu

as a witness because Sidhu was intimidated by the terms of his plea

agreement. (D.E. 428, p. 31). This Court should disregard his speculative

argument, which previously was discussed at length.        In any event, to

the extent Narang believed he had a legitimate claim, he could have

asserted it on appeal, but chose not to do so.

      As stated earlier, the legal basis of his claim was readily available

to him when he appealed. Narang does not rely on recent caselaw for his

claim. Also, his claim is predicated on facts contained within the record

when he appealed. There also is no suggestion that he was precluded

from raising the claim on appeal. See United States v. Cabrera, No. 6:22-
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CR-00001, 2023 WL 2789311, at *2 (S.D. Tex. Apr. 4, 2023) (claim

procedurally defaulted because defendant failed to raise it on direct

appeal and did not establish either cause and actual prejudice or that he

was actually innocent; mere conclusory allegations on critical issues are

insufficient to raise constitutional issue).

     This Court also should overrule Narang’s complaint about the

prosecutor’s brief, broad, and vague reference during sentencing that the

Government “got hold of” him because he was dealing with the Russians

in 2008. Again, Narang could have raised this complaint on appeal, but

did not. He offers no reason why, failing to establish cause.

     Moreover, Narang has failed to establish actual prejudice, and the

claim is conclusory. The supposed error occurred at sentencing. Narang

does not even attempt to explain how the comment resulted in a higher

sentence. There is no indication in the record that this Court sentenced

Narang to a longer term of imprisonment because of the comment or was

otherwise influenced by it. Narang, therefore, has failed to overcome his

procedural default by failing to demonstrate actual prejudice.



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VII. CUMULATIVE ERROR DOES NOT EXIST.

      Finally, Narang briefly mentions that cumulative error may be

considered as an independent basis for relief. (See D.E. 428, p. 33). “[T]he

cumulative error doctrine ... provides that an aggregation of non-

reversible errors (i.e., plain errors failing to necessitate reversal and

harmless errors) can yield a denial of the constitutional right to a fair

trial, which calls for reversal.” Moparty, 11 F.4th at 298 (brackets and

ellipsis original).

      The Fifth Circuit’s “clear precedent indicates that ineffective

assistance of counsel cannot be created from the accumulation of

acceptable decisions and actions.” United States v. Hall, 455 F.3d 508,

520 (5th Cir. 2006) (emphasis added). As the Fifth Circuit found in a case

similar to Narang’s here, “because certain alleged errors did not rise to

constitutionally ineffective assistance of counsel, and because certain

other claims were meritless, a petitioner had ‘presented nothing to

cumulate.’” Id. (citing Yohey, 985 F.2d at 229)).

      Moreover, Moparty, not Narang, raised a cumulative error

complaint on appeal, contending that “[t]he cumulative prejudicial effect

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of these repeated acts of misconduct by prosecutors and government

witnesses rendered impossible the jury’s ability to fairly review the

evidence and return a just verdict.”      See Moparty, 11 F.4th at 299

(brackets original). The Fifth Circuit rejected his argument, finding

“[t]he government offered hundreds of pages of documentary evidence

and testimony from patients, employees, medical experts, industry

representatives, and investigating agents. Moparty’s claimed errors lack

the ‘synergistic’ nature such that if none had occurred, he would have had

‘a very different trial.’”   Id.   The Fifth Circuit’s decision forecloses

Narang’s meritless cumulative error claim.

VIII. NO HEARING IS REQUIRED               AND   NO    CERTIFICATE     OF
      APPEALABILITY SHOULD ISSUE.

     A defendant may obtain a certificate of appealability “only if the

applicant has made a substantial showing of the denial of a constitutional

right.” 28 U.S.C. § 2253(c)(2). “At the COA stage, the only question is

whether the applicant has shown that jurists of reason could disagree

with the district court’s resolution of his constitutional claims or that

jurists could conclude the issues are adequate to deserve encouragement

to proceed further.” Buck v. Davis, 137 S. Ct. 759, 773 (2017) (quotation
                                     25
marks omitted). For the reasons discussed above, reasonable jurists

could not disagree with this Court’s denial of Narang’s § 2255 motion.

     An evidentiary hearing also is unnecessary here. A § 2255 motion

may be resolved without a hearing where the motion, files, and record of

the case conclusively show that no relief is appropriate. United States v.

Santora, 711 F.2d 41, 42 (5th Cir. 1983). “If the record is clearly adequate

to dispose fairly of the allegations, the court need inquire no further.”

United States v. Smith, 915 F.2d 959, 964 (5th Cir. 1990); see also United

States v. Demik, 489 F.3d 644, 646 (5th Cir. 2007) (“conclusional

allegations” and general claims are insufficient to establish ineffective

assistance or to require an evidentiary hearing); see also United States v.

Holmes, 406 F.3d 337, 361 (5th Cir. 2005) (“Mere conclusory allegations

in support of a claim of ineffective assistance of counsel are insufficient

to raise a constitutional issue.”) (citation omitted).

     Here, Narang’s claims are unmeritorious. Based on the existing

record, this Court can determine that his motion should be denied

without holding an evidentiary hearing.



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                             CONCLUSION

     For these reasons, this Court should deny Narang’s § 2255 motion.

This Court also should find that an evidentiary hearing is unnecessary

and deny a certificate of appealability.

                                     Respectfully submitted,

                                     ALAMDAR S. HAMDANI
                                     United States Attorney

                                     CARMEN CASTILLO MITCHELL
                                     Chief, Appellate Division

                                     s/ Eileen K. Wilson
                                     EILEEN K. WILSON
                                     Assistant United States Attorney
                                     Attorneys for Respondent

                                     United States Attorney’s Office
                                     1000 Louisiana St., Suite 2300
                                     Houston, TX 77002
                                     (713) 567-9102

                     CERTIFICATE OF SERVICE

     I certify that, on April 18, 2023, a true and correct copy of this
motion was electronically filed with the United States District Court for
the Southern District of Texas and served upon opposing counsel Mr.
Joshua Sabert Lowther.

                                  s/ Eileen K. Wilson
                                  EILEEN K. WILSON

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               UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF TEXAS
                    HOUSTON DIVISION

UNITED STATES OF AMERICA,               §
    Plaintiff/Respondent,               §
                                        §
                                        §
                                        §   Crim. No. H-17-290-01
      v.                                §   (Civil No. H-23-0109)
                                        §
                                        §
HARCHARAN SINGH NARANG,                 §
    Defendant/Petitioner.               §


           ORDER DENYING 28 U.S.C. § 2255 MOTION

     After reviewing the applicable pleadings, facts, and law, this Court

has determined that Harcharan Singh Narang’s motion under 28 U.S.C.

§ 2255 should be and is denied.

     SIGNED this ____day of ____________________, 2023.



                           _______________________________________
                           HON. SIM LAKE
                           UNITED STATES DISTRICT JUDGE




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